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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA : CRIMINAL COMPLAINT
Vv. : Honorable Michael A. Hammer
KEVIN WILLIAMS, : Mag. No. 19-4476
a/k/a “KK”

I, Keith Willis, the undersigned complainant being duly sworn, state the
following is true and correct to the best of my knowledge and belief:

SEE ATTACHMENT A

I further state that I am a Special Agent with the Federal Bureau of
Investigation and that this complaint is based on the following facts:

SEE ATTACHMENT B

ae Willis, Special Agent

Federal Bureau of Investigation

Sworn to before me and subscribed in my presence,
November 8, 2019, Essex County, New Jersey

Honorabie Michael A. Hammer CH.

United States Magistrate Judge Signature of Judicial Officer

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ATTACHMENT A

COUNT ONE
{Possession with Intent to Distribute Narcotics)

On or about June 9, 2019, in Hudson County, in the District of New Jersey
and elsewhere, the defendant,

KEVIN WILLIAMS,
a/k/a “KK,”

knowingly and intentionally did possess with the intent to distribute a quantity
of a mixture and substance containing a detectable amount of heroin, a Schedule
I controlled substance, and a quantity of a mixture and substance containing a
detectable amount of cocaine, a Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).
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ATTACHMENT B

I, Keith Willis, am a Special Agent with the Federal Bureau of Investigation.
1 am fully familiar with the facts set forth herein based on my own investigation,
my conversations with other law enforcement officers, and my review of reports,
documents, and photographs of the evidence. Where statements of others are
related herein, they are related in substance and part. Because this complaint
is being submitted for a limited purpose, I have not set forth each and every fact
that I know concerning this investigation. Where I assert that an event took
place on a particular date, | am asserting that it took place on or about the date
alleged.

1. On or about June 9, 2019, at approximately 6:46 p.m., law
enforcement officers were in the area of Grant Avenue and Martin Luther King
Drive in Jersey City, New Jersey, when they heard multiple gunshots. Four shell
casings were subsequently recovered.

2. Subsequently obtained video footage from the area revealed that an
individual (“Individual 1”) fired multiple shots in the direction of Kevin Williams,
a/k/a “KK,” (“WILLIAMS”), and others in the area.

3. Video footage then depicted WILLIAMS retrieve a dark colored
handgun from a bag that he was holding. WILLIAMS then pointed that handgun
in the direction of Individual 1.

4. After Individual 1 retreated from the area, WILLIAMS handed the
dark colored handgun to another individual (“Individual 2”) who was seated in a
2003 Nissan Maxima (the “Maxima”). As a marked police unit approached the
area, WILLIAMS walked away from the Maxima.

> A review of law enforcement records pertaining to the Maxima
revealed that WILLIAMS had been stopped in the Maxima two days earlier on or
about June 7, 2019.

6. Later in the evening on or about June 9, 2019, at approximately
11:51 p.m., law enforcement located the Maxima parked in the area of Dales
Avenue in Jersey City, New Jersey. The Maxima was towed pending the
application of a search warrant.

7. Subsequently obtained video footage depicting the area of Dales
Avenue where the Maxima was parked revealed that—between the time of the
shooting at approximately 6:46 p.m. and the time the Maxima was towed at
approximately 11:51 p.m.—WILLIAMS parked the Maxima in the area of Dales
Avenue and accessed the trunk of the Maxima on multiple occasions, seemingly
conducting hand-to-hand narcotics transactions.
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8. Law enforcement obtained and executed a search warrant for the
Maxima, which revealed the following, among other items, in the trunk:

a.

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f.

Approximately 140 glassine envelopes of heroin, stamped “Bone
Crusher” in blue packaging;

Approximately thirty glassine envelopes of heroin, stamped “La
Familia” in blue packaging;

Seven unmarked glassine envelopes of heroin;
One bag of heroin, stamped “Bone Crusher” in blue packaging;
Three plastic bags, containing cocaine; and

Multiple packages of vials commonly used for packaging cocaine.

9. Review of WILLIAMS’s criminal history reveals prior convictions for,
among other offenses: (1) on or about July 14, 2017, distribution of controlled
dangerous substances on school property, in violation of N.J.S.A. 2C:35-7; and
(2) on or about August 24, 2018, aggravated assault, in violation of N.J.S.A.

2C:12-1(b)(2).

Accordingly, WILLIAMS is subject to treatment as a career

offender under the United States Sentencing Guidelines.
